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EXHIBIT 2
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
KYSS BURTON, BY HER MOTHER,
SAKIA HALL AS NEXT FRIEND AND
SAKIA HALL, |
Plaintiff,
Vv. Case No. 3:1 1-cv-00065-IRS
HAROLD FORD,

Defendant.

DEFENDANT FORD’S REQUEST FOR PRODUCTION TO PLAINTIFF

COMES NOW the defendant, Harold Ford, in his individual capacity (“Ford”), by

counsel, pursuant to Rule 34, Federal Rules of Civil Procedure, and submit the following Request

for Production of Documents to be answered by the plaintiff within thirty (30) days. These requests

"are continuing in nature so as to require you to file supplementary answers if you obtain further or

different information,

INSTRUCTIONS

A. "Document" shall mean any writing (whether handwritten, typed, printed, or
otherwise made), drawing, graph, chart, photograph, phono-record, or other data compilations from
which information can be obtained or translated, if necessary, through detection devices into
reasonable usable form, which are in the possession, custody, or control of the plaintiff,

B. The Production of Documents shall designate separately which documents are being

produced in response to each of the following Requests,

~ EXHIBIT

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C. If any document herein requested was formerly in the possession, custody, or control
of the plaintiff and has been lost or destroyed, plaintiff is requested to submit in lieu of each such
document a written statement which:

1. describes in detail the nature of the document and its contents,

2. identifies the person who prepared or authorized the document and, if
applicable, the person to whom the document was sent;

3, specifies the date on which the document was prepared or transmitted; and

4, specifies, if possible, the date on which document was lost or destroyed, the
conditions of and the reason for such destruction, and the persons requesting and performing the
destruction.

D. For each document you contend is privileged or otherwise not discoverable pursuant
to applicable law, identify such document by its date, author, and recipient(s); state the subject
matter of such document; and state the basis for your contention that the document is not
discoverable.

E, This Request for Production of Documents is continuing in nature and any document
obtained or located subsequent to production, which would have been produced had it been
available or its existence known at the time, is to be supplied forthwith.

F, “Incident” refers to the events involving the shooting of the plaintiff on February 3
or 4, 2004, including all related evens before and after the shooting as set forth in plaintiff's

Complaint.
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REQUEST FOR PRODUCTION
1. Copies of all documents pertaining to the incident described in the plaintiff's
Complaint.
_ RESPONSE:
2. Copies of all documents of any description relied upon or used to answer the

interrogatories accompanying this request.

RESPONSE:

3. Copies of all photographs, slides, video or audio recordings, tapes, filns,
diagrams or drawings that relate in any manner to your or Kyss Burton’s encounter with the
Richmond. City Police Department on March 3, 2010 as set forth in the Complaint.

RESPONSE:

4, Copies of all documents and tangible things provided to or relied upon as a basis for
the opinion of each expert witness retained by you.

RESPONSE:

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5. All documents that in any way reference the defendant, Harold Ford.
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: RESPONSE:
t
6. Copies of all resumes or curriculum vitae for each expert witness retained by the

plaintiff who is expected to testify at the trial of this matter.

RESPONSE:

7. Ali documents you received pursuant to subpoena duces tecum or a Freedom of
Information Act request concerning the incident on March 3, 2010 referenced in your Complaint.

RESPONSE:

8. Copies of all documents and tangible things which will be introduced as evidence in
the trial of this matter.

RESPONSE:
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9, Copies of all documents and tangible things which will be used for demonstrative

purposes at trial of this matter.

RESPONSE:

HAROLD FORD

By Counsel

(wh b

David P. Corrigan

VSB No. 26341

Attorney for Harold Ford

Harman, Claytor, Corrigan & Wellman
P.O. Box 70280

Richmond, Virginia 23255

(804) 747-5200

(804) 747-6085 — facsimile
dcorrigan(@hecw.com

CERTIFICATE

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T hereby certify that a true copy of the foregoing was emailed and mailed this/"_ day of
March, 2011 to:

Robert H. Smallenberg, Esq.
Metropolitan Law Center, PLC
10035 Sliding Hill Road, Sutte 204
Ashland, VA 23005
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Brian K, Telfair, Esq,
City of Richmond

Office of the City Attorney
900 E. Broad Street, Room 300
Richmond, VA 23219

De af Corti gan

David o. 26341

Attorney for Harold Ford

Harman, Claytor, Corrigan & Wellman
P.O, Box 70280

Richmond, Virginia 23255

(804) 747-5200

(804) 747-6085 - facsimile
dcorrigan@hcew.com

